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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

SARASOTA TENNIS CLUB HOLDINGS, LLC,

               Plaintiff,

       v.                                                   CASE NO. 8:18-cv-884-T-17MAP

ROBERT MITCHELL and EXCHANGE
RESOURCES, INC.,

            Defendants.
______________________________________/


                            AMENDED NOTICE OF HEARING

       PLEASE TAKE NOTICE that a hearing is scheduled for the date and time set forth below.

Please govern yourselves accordingly.

       DATE:           April 26, 2018

       TIME:           10:00 a.m.

       PLACE:          Sam Gibbons United States Courthouse, 801 N. Florida Avenue, Courtroom
                       11B, Tampa, FL 33602

       TYPE OF
       HEARING:        STATUS CONFERENCE


                                         /s Dana Kanfer
                                        Dana S. Kanfer
                                        Law Clerk to Honorable Mark A. Pizzo
                                        (813) 301-5011

INSTRUCTIONS to participate in telephone conference:

1. Prior to the start time of your hearing, call AT&T Toll Free Meeting Number, 1-888-684-8852

2. Enter the Access Code, 7593847 followed by the # key. You will be asked to press the # key
once again to join the conference as a participant, and then placed on hold until the Court Host
activates the conference call.
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3. You will be asked to enter the Security Code, 18884 followed by the # key. The system will
confirm the number entered, and ask you to either accept (press 1) or re-enter (press 2). All
participants must enter the security code followed by the # key and accept (press 1) to be entered into
the conference call. The security code needs to be entered only once unless it is entered incorrectly
the first time.

Date:          April 25, 2018




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